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P.O. Box 15284
Wilmington, DE 19850
                                                                                          Customer service information


                                                                                          1.888.BUSINESS (1.888.287.4637)

                                                                                          bankofamerica.com
  GATEGUARD, INC.
                                                                                          Bank of America, N.A.
  350 LINCOLN RD
                                                                                          P.O. Box 25118
  SUITE 5060                                                                              Tampa, FL 33622-5118
  MIAMI BEACH, FL 33139




Your Business Fundamentals Checking
for May 1, 2019 to May 31, 2019                                                     Account number: 4830 6703 8085
GATEGUARD, INC.

Account summary
Beginning balance on May 1, 2019                                    $4,458.69   # of deposits/credits: 0
Deposits and other credits                                               0.00   # of withdrawals/debits: 5
Withdrawals and other debits                                      -264,490.50   # of items-previous cycle¹: 30
Checks                                                                  -0.00   # of days in cycle: 31
Service fees                                                         -288.00    Average ledger balance: -$209,150.50
Ending balance on May 31, 2019                                  -$260,319.81    ¹Includes checks paid,deposited items&other debits




                                                                                                           SDNY_000952
PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                             Page 1 of 4
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GATEGUARD, INC. ! Account # 4830 6703 8085 ! May 1, 2019 to May 31, 2019


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address, email
and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of Online
Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
        why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.


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                                                                                                    Your checking account
GATEGUARD, INC. ! Account # 4830 6703 8085 ! May 1, 2019 to May 31, 2019




Withdrawals and other debits
Date          Description                                                                                                                   Amount
05/07/19      RETURN ITEM CHARGEBACK                                                                                                  -264,000.00
Card account # XXXX XXXX XXXX 2943
05/02/19      CHECKCARD 0501 GOOGLE*GSUITE 12GURUS. CC GOOGLE.COMCA                                                                           -87.10
              24013089122090031561568 CKCD 7311 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
05/02/19      CHECKCARD 0502 WEWORK-WW 350 LINCOLN 855-593-9675 FL 24692169122100519048240                                                  -373.45
              CKCD 6513 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
05/03/19      CHECKCARD 0501 SendGrid 1-877-969-8647 877-9698647 CO 24906419121072418128369                                                   -29.95
              RECURRING CKCD 7399 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
Subtotal for card account # XXXX XXXX XXXX 2943                                                                                     -$490.50
Total withdrawals and other debits                                                                                              -$264,490.50


Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                             Total for this period                   Total year-to-date

  Total Overdraft fees                              $0.00                                $350.00

  Total NSF: Returned Item fees                     $0.00                                  $0.00

  We want to help you avoid overdraft and returned item fees. Here are a few ways to manage your account and stay on top
  of your balance:
       - Set up Overdraft Protection in Online Banking to avoid declined transactions and save on overdraft fees
       - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier's coverage.

                                                                                                                            continued on the next page




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GATEGUARD, INC. ! Account # 4830 6703 8085 ! May 1, 2019 to May 31, 2019



Service fees - continued
The Monthly Fee on your Business Fundamentals Checking account was waived for the statement period ending 04/30/19. A check mark
below indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
        $250+ in new net purchases on a linked Business debit card

        $250+ in new net purchases on a linked Business credit card

        $3,000+ minimum daily balance in primary checking account

        $5,000+ average monthly balance in primary checking account

        $15,000+ combined average monthly balance in linked business accounts

        enrolled in Business Advantage Relationship Rewards

For information on how to open a new product, link an existing service to your account, or about Business Advantage Relationship
Rewards please call 1.888.BUSINESS or visit bankofamerica.com/smallbusiness.
Date           Transaction description                                                                                                Amount

05/07/19       RETURNED ITEM CHARGEBACK FEE                                                                                          -288.00

Total service fees                                                                                                                 -$288.00
Note your Ending Balance already reflects the subtraction of Service Fees.




Daily ledger balances
Date                                 Balance ($)    Date                          Balance($)    Date                               Balance ($)

05/01                                    4,458.69   05/03                         3,968.19      05/07                          -260,319.81
05/02                                    3,998.14




                                                                                                            SDNY_000955
                                                                                                                         Page 4 of 4
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P.O. Box 15284
Wilmington, DE 19850
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                                                                                        1.888.BUSINESS (1.888.287.4637)

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  GATEGUARD, INC.
                                                                                        Bank of America, N.A.
  350 LINCOLN RD
                                                                                        P.O. Box 25118
  SUITE 5060                                                                            Tampa, FL 33622-5118
  MIAMI BEACH, FL 33139




Your Business Fundamentals Checking
for April 1, 2019 to April 30, 2019                                               Account number: 4830 6703 8085
GATEGUARD, INC.

Account summary
Beginning balance on April 1, 2019                               $3,995.96    # of deposits/credits: 11
Deposits and other credits                                      307,762.27    # of withdrawals/debits: 30
Withdrawals and other debits                                    -306,888.30   # of items-previous cycle¹: 3
Checks                                                                -0.00   # of days in cycle: 30
Service fees                                                       -411.24    Average ledger balance: $46,062.92
Ending balance on April 30, 2019                                $4,458.69     ¹Includes checks paid,deposited items&other debits




                                                                                                        SDNY_000956
PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                           Page 1 of 6
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GATEGUARD, INC. ! Account # 4830 6703 8085 ! April 1, 2019 to April 30, 2019


IMPORTANT INFORMATION:
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Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -    Tell us your name and account number.
    -    Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
         why you need more information.
    -    Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.


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                                                                                         Your checking account
GATEGUARD, INC. ! Account # 4830 6703 8085 ! April 1, 2019 to April 30, 2019




Deposits and other credits
Date         Description                                                                                                     Amount

04/01/19     Online Banking transfer from CHK 0351 Confirmation# 5313542211                                               1,800.00

04/02/19     BKOFAMERICA MOBILE 04/02 3620393852 DEPOSIT                       *MOBILE   NY                               2,048.76

04/02/19     BKOFAMERICA MOBILE 04/02 3620392900 DEPOSIT                       *MOBILE   NY                               2,048.76

04/03/19     CHECKCARD 0401 THE HOME DEPOT 6175 NEW YORK               NY 7469216909210005609                                487.96

04/03/19     CHECKCARD 0402 ECHOD GRAPHICS INC BROOKLYN              NY 7424760909230053913                                    26.13

04/03/19     CHECKCARD 0401 THE HOME DEPOT #6175 NEW YORK               NY 7461043909201018671                                 26.06

04/05/19     CHECKCARD 0404 AMZN MKTP US AMZN.COM/B AMZN.COM/BILLWA 7443106909508300832                                        76.20

04/05/19     CHECKCARD 0404 AMZN MKTP US AMZN.COM/B AMZN.COM/BILLWA 7443106909508300434                                        76.20

04/15/19     CHECKCARD 0412 AMZN MKTP US AMZN.COM/B AMZN.COM/BILLWA 7443106910208300749                                        76.20

04/19/19     Counter Credit                                                                                            297,000.00

04/19/19     BKOFAMERICA ATM 04/19 #000005703 DEPOSIT LINCOLN ROAD MAL MIAMI BEACH FL                                     4,096.00

Total deposits and other credits                                                                                  $307,762.27


Withdrawals and other debits
Date         Description                                                                                                    Amount
04/02/19     RETURN ITEM CHARGEBACK                                                                                     -36,000.00
04/24/19     RETURN ITEM CHARGEBACK                                                                                     -33,000.00
04/26/19     Online Banking transfer to CHK 0351 Confirmation# 2128234392                                             -225,000.00
04/26/19     Online Banking transfer to CHK 5580 Confirmation# 1328254696                                                -3,600.00
04/29/19     Online Banking transfer to CHK 5580 Confirmation# 7443490767                                                -5,500.00
Card account # XXXX XXXX XXXX 2943
04/01/19     CHECKCARD 0328 TAXI SVC 41-25 36TH ST LONG IS CITY NY 24869489088464169187893                                   -13.41
             CKCD 4121 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
04/01/19     CHECKCARD 0328 RA CUNY EDU 11210432 NEW YORK                NY 24164079088937311466282                            -3.16
             CKCD 5814 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
04/01/19     CHECKCARD 0330 AMZN MKTP US*MW0G85V82 AMZN.COM/BILLWA                                                          -228.60
             24431069089083312136587 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
                                                                                                            continued on the next page




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GATEGUARD, INC. ! Account # 4830 6703 8085 ! April 1, 2019 to April 30, 2019




Withdrawals and other debits - continued
Date          Description                                                                                                               Amount
04/01/19      CHECKCARD 0330 WHITEHALL FERRY TERMINA NEW YORK                  NY 24765019090839000632213                                -20.41
              CKCD 5812 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
04/01/19      THE HOME DEPOT 03/30 #000931301 PURCHASE THE HOME DEPOT #1 STATEN ISLAND NY                                               -537.98
04/01/19      THE HOME DEPOT 04/01 #000573823 PURCHASE THE HOME DEPOT 61 NEW YORK                       NY                                -87.10
04/02/19      CHECKCARD 0401 ECHOD GRAPHICS INC 718-643-1454 NY 24247609091300526671412 CKCD                                         -1,646.19
              7333 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
04/02/19      CHECKCARD 0401 GOOGLE *GSUITE_12gurus cc@google.comCA 24692169091100414491757                                               -89.19
              CKCD 7311 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
04/03/19      CHECKCARD 0401 THE HOME DEPOT #6175 NEW YORK                NY 24610439092010186720447                                    -581.62
              CKCD 5200 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
04/03/19      CHECKCARD 0402 WEWORK-WW 350 LINCOLN 855-593-9675 FL 24692169092100811811325                                              -373.45
              CKCD 6513 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
04/29/19      CHECKCARD 0427 ATLASSIAN ATLASSIAN B.V 74697049118060860132516 CKCD 5734                                                   -41.37
              XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
04/30/19      CHECKCARD 0429 VBS*VONAGE BUSINESS 866-901-0242 GA 24692169119100055096467                                                -165.82
              RECURRING CKCD 4814 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
Subtotal for card account # XXXX XXXX XXXX 2943                                                                               -$3,788.30
Total withdrawals and other debits                                                                                          -$306,888.30


Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                            Total for this period              Total year-to-date

  Total Overdraft fees                           $350.00                           $350.00

  Total NSF: Returned Item fees                    $0.00                             $0.00



The Monthly Fee on your Business Fundamentals Checking account was waived for the statement period ending 03/29/19. A check mark
below indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
       $250+ in new net purchases on a linked Business debit card

       $250+ in new net purchases on a linked Business credit card

       $3,000+ minimum daily balance in primary checking account

       $5,000+ average monthly balance in primary checking account

       $15,000+ combined average monthly balance in linked business accounts

       enrolled in Business Advantage Relationship Rewards

For information on how to open a new product, link an existing service to your account, or about Business Advantage Relationship
Rewards please call 1.888.BUSINESS or visit bankofamerica.com/smallbusiness.
Date          Transaction description                                                                                                    Amount

04/01/19      OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-01                                                                                    -35.00

04/01/19      OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-01                                                                                    -35.00

04/01/19      OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-01                                                                                    -35.00

04/01/19      OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-01                                                                                    -35.00
                                                                                                                        continued on the next page




                                                                                                             SDNY_000959
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                                                                                              Your checking account
GATEGUARD, INC. ! Account # 4830 6703 8085 ! April 1, 2019 to April 30, 2019



Service fees - continued
Date           Transaction description                                                                                 Amount

04/01/19       OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-01                                                                -35.00

04/01/19       OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-01                                                                -35.00

04/02/19       OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-02                                                                -35.00

04/02/19       OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-02                                                                -35.00

04/02/19       RETURNED ITEM CHARGEBACK FEE                                                                            -24.00

04/03/19       OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-03                                                                -35.00

04/03/19       OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-03                                                                -35.00

04/24/19       RETURNED ITEM CHARGEBACK FEE                                                                            -36.00
04/29/19       CHECKCARD 0427 ATLASSIAN ATLASSIAN B.V                                                                      -1.24
               74697049118060860132516 CKCD 5734 XXXXXXXXXXXX2943
               INTERNATIONAL TRANSACTION FEE

Total service fees                                                                                                 -$411.24
Note your Ending Balance already reflects the subtraction of Service Fees.




Daily ledger balances
Date                                 Balance ($)    Date                         Balance($)    Date                 Balance ($)

04/01                                    4,695.30   04/15                      -29,292.88      04/26                10,167.12
04/02                              -29,036.56       04/19                      271,803.12      04/29                 4,624.51
04/03                              -29,521.48       04/24                      238,767.12      04/30                 4,458.69
04/05                              -29,369.08




                                                                                                       SDNY_000960
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                 Case 1:19-cr-00696-PAE Document 128-2 Filed 05/01/20 Page 10 of 22
GATEGUARD, INC. ! Account # 4830 6703 8085 ! April 1, 2019 to April 30, 2019




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                                                                                    SDNY_000961
                                                                                          Page 6 of 6
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P.O. Box 15284
Wilmington, DE 19850
                                                                                       Customer service information


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                                                                                       bankofamerica.com
  GATEGUARD, INC.
                                                                                       Bank of America, N.A.
  350 LINCOLN RD
                                                                                       P.O. Box 25118
  SUITE 5060                                                                           Tampa, FL 33622-5118
  MIAMI BEACH, FL 33139




Your Business Fundamentals Checking
for March 1, 2019 to March 31, 2019                                              Account number: 4830 6703 8085
GATEGUARD, INC.

Account summary
Beginning balance on March 1, 2019                              $26,959.21   # of deposits/credits: 5
Deposits and other credits                                       45,877.46   # of withdrawals/debits: 62
Withdrawals and other debits                                    -68,704.47   # of items-previous cycle¹: 46
Checks                                                               -0.00   # of days in cycle: 31
Service fees                                                       -136.24   Average ledger balance: $16,239.25
Ending balance on March 31, 2019                                $3,995.96    ¹Includes checks paid,deposited items&other debits




                                                                                                        SDNY_000962
PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                          Page 1 of 6
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GATEGUARD, INC. ! Account # 4830 6703 8085 ! March 1, 2019 to March 31, 2019


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
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this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
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    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
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Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.


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                                                                                      Your checking account
GATEGUARD, INC. ! Account # 4830 6703 8085 ! March 1, 2019 to March 31, 2019




Deposits and other credits
Date         Description                                                                                            Amount

03/06/19     CHECKCARD 0305 THE YARD 5 800-998-4392 NY 7480166906402701308                                            50.00

03/20/19     Online Banking transfer from CHK 1046 Confirmation# 7106261411                                      7,070.00

03/28/19     BKOFAMERICA MOBILE 03/29 3616189776 DEPOSIT                    *MOBILE   NY                        18,000.00

03/28/19     BKOFAMERICA MOBILE 03/29 3616186424 DEPOSIT                    *MOBILE   NY                        18,000.00

03/28/19     BKOFAMERICA MOBILE 03/29 3616185022 DEPOSIT                    *MOBILE   NY                         2,757.46

Total deposits and other credits                                                                           $45,877.46


Withdrawals and other debits
Date         Description                                                                                           Amount
03/04/19     Online Banking transfer to CHK 5580 Confirmation# 1274710970                                          -571.86
03/08/19     WIRE TYPE:INTL OUT DATE:190308 TIME:1558 ET TRN:2019030800406241 SERVICE                           -1,000.00
             REF:199455 BNF:JUNGENG SU ID:1562714211030001 BNF BK:ZHEJIANG CHOUZHOU COMME
             ID:006550890252 PMT DET:257338992 POP GOODS CONT ARMSTRONG SU
03/11/19     Online Banking transfer to CHK 0351 Confirmation# 2134388956                                       -4,500.00
03/18/19     Online Banking transfer to CHK 5580 Confirmation# 2292944266                                       -1,900.00
03/20/19     WIRE TYPE:INTL OUT DATE:190320 TIME:0512 ET TRN:2019032000122690 SERVICE                           -7,020.00
             REF:632549 BNF:ZHUHAI TAICHUAN CLOUD TECH ID:4440009161463000 BNF BK:BANK OF
             COMMUNICATIONS ID:COMMCNSHZHI PMT DET:258228708 POP GOODS CONT JOY PANG
03/22/19     Online Banking transfer to CHK 5580 Confirmation# 5326952341                                       -1,800.00
03/25/19     Customer Withdrawal Image                                                                          -4,000.00
03/26/19     Online Banking transfer to CHK 0351 Confirmation# 5462519269                                       -2,000.00
03/26/19     WIRE TYPE:INTL OUT DATE:190326 TIME:1442 ET TRN:2019032600384671 SERVICE                           -1,500.00
             REF:006991 BNF:TELEPOWER COMMUNCATION CO. ID:665257763927 BNF BK:BANK OF CHINA
             ID:BKCHCNBJ44E PMT DET:258796 222 PROTOTYPE POP SERVICES CONT NICOLE
03/29/19     Online Banking transfer to CHK 0351 Confirmation# 5386785014                                      -35,000.00
Card account # XXXX XXXX XXXX 2943
03/01/19     CHECKCARD 0228 AMZN MKTP US*MI1KP6SY1 AMZN.COM/BILLWA                                                   -35.97
             24431069059083305365819 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/04/19     CHECKCARD 0301 AMZN MKTP US*MI4FF1761 AMZN.COM/BILLWA                                              -1,221.24
             24431069060083310092512 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
                                                                                                   continued on the next page




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GATEGUARD, INC. ! Account # 4830 6703 8085 ! March 1, 2019 to March 31, 2019




Withdrawals and other debits - continued
Date         Description                                                                                                     Amount
03/04/19     CHECKCARD 0301 SendGrid 1-877-969-8647 877-9698647 CO 24906419060069141464627                                     -29.95
             RECURRING CKCD 7399 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/04/19     CHECKCARD 0301 METAL SUPERMARKETS (MIA 305-7280456 FL                                                             -80.25
             24003419060900011904668 CKCD 5051 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/04/19     CHECKCARD 0301 THE YARD 5 800-998-4392 NY 24801669060027013688463 CKCD 6513                                       -50.00
             XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/04/19     CHECKCARD 0302 WEWORK-WW 350 LINCOLN 855-593-9675 FL 24692169061100442754933                                    -383.93
             CKCD 6513 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/04/19     CHECKCARD 0302 GOOGLE *GSUITE_12gurus cc@google.comCA 24692169061100634771703                                     -76.38
             CKCD 7311 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/04/19     CHECKCARD 0303 AMZN MKTP US*MI3XT4921 AMZN.COM/BILLWA                                                             -65.30
             24431069062083722249096 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/04/19     BKOFAMERICA ATM 03/01 #000007909 WITHDRWL HERALD SQUARE CE NEW YORK                  NY                         -200.00
03/04/19     BKOFAMERICA ATM 03/03 #000004825 WITHDRWL 13TH & 3RD              NEW YORK     NY                               -300.00
03/06/19     CHECKCARD 0305 AMZN MKTP US*MI8V30RD1 AMZN.COM/BILLWA                                                             -15.99
             24431069065083720445073 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/07/19     BKOFAMERICA ATM 03/06 #000006908 WITHDRWL ONE PENN PLAZA            NEW YORK        NY                          -560.00
03/12/19     CHECKCARD 0311 AMZN Mktp US*MW2KG4CP0 Amzn.com/billWA 24692169070100989225171                                   -129.99
             CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/12/19     CHECKCARD 0311 AMAZON.COM*MW5UW0L01 AM AMZN.COM/BILLWA                                                          -489.40
             24431069070083324911036 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/12/19     CHECKCARD 0311 AMZN Mktp US*MI3YV3KU2 Amzn.com/billWA 24692169070100097499015                                   -108.86
             CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/14/19     CHECKCARD 0313 AMZN MKTP US*MI61G4UT2 AMZN.COM/BILLWA                                                           -238.42
             24431069072083308632440 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/14/19     CHECKCARD 0313 VBS*VONAGE BUSINESS 866-901-0242 GA 24692169072100391927404                                      -165.82
             RECURRING CKCD 4814 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/14/19     CHECKCARD 0313 POSTAGE GOSHIPPO.COM HTTPSGOSHIPPOCA 24492159072637562243056                                        -9.75
             RECURRING CKCD 7399 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/14/19     CHECKCARD 0313 AMAZON.COM*MW6Z86LE0 AM AMZN.COM/BILLWA                                                           -15.54
             24431069072083712664476 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/18/19     CHECKCARD 0315 AMZN MKTP US*MW6EC03B1 AMZN.COM/BILLWA                                                             -17.98
             24431069074083707634581 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/18/19     CHECKCARD 0315 AMZN MKTP US*MW40N8ZI0 AMZN.COM/BILLWA                                                             -15.99
             24431069074083714851608 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/18/19     CHECKCARD 0315 AMZN MKTP US*MI4XH1WO2 AMZN.COM/BILLWA                                                              -8.99
             24431069074083715460763 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/18/19     CHECKCARD 0316 AMZN MKTP US*MW3N18TI1 AMZN.COM/BILLWA                                                           -104.46
             24431069075083712203678 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/19/19     CHECKCARD 0318 RIETS/YU NEW YORK NY 24013399077002471368493 CKCD 8220                                        -1,000.00
             XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/19/19     CHECKCARD 0318 B&H PHOTO 800-606-6969 800-2215743 NY 24906419077070015303033                                    -269.88
             CKCD 5969 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/20/19     CHECKCARD 0319 LYFT *RIDE TUE 7AM 8552800278 CA 24492159078637825191831 CKCD                                     -31.94
             4121 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/20/19     CHECKCARD 0319 LYFT *RIDE TUE 11AM 8552800278 CA 24492159078637848097817                                         -23.47
             CKCD 4121 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/20/19     CHECKCARD 0319 EIG*SITE5.COM 866-8975421 TX 24906419078070070856585 RECURRING                                     -99.00
             CKCD 7379 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/21/19     CHECKCARD 0320 LYFT *RIDE TUE 9PM 855-865-9553 CA 24055239080400965774824 CKCD                                     -6.22
             4121 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
                                                                                                             continued on the next page


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                                                                                      Your checking account
GATEGUARD, INC. ! Account # 4830 6703 8085 ! March 1, 2019 to March 31, 2019




Withdrawals and other debits - continued
Date         Description                                                                                        Amount
03/21/19     CHECKCARD 0320 LYFT *RIDE WED 9AM 855-865-9553 CA 24055239080400965974614                               -5.36
             CKCD 4121 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/21/19     CHECKCARD 0320 COURTS/USDC-NY-S 914-390-4001 NY 24240989080600129793109 CKCD                       -400.00
             9399 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/21/19     CHECKCARD 0320 COURTS/USDC-NY-S 914-390-4001 NY 24240989080600129793281 CKCD                       -200.00
             9399 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/21/19     CHECKCARD 0320 LYFT *RIDE WED 6PM 855-865-9553 CA 24055239080400965952966                           -10.08
             CKCD 4121 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/21/19     CHECKCARD 0321 LYFT *RIDE WED 7PM 855-865-9553 CA 24055239080400965491544                           -10.90
             CKCD 4121 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/22/19     CHECKCARD 0320 THE SHUL OF DOWNTOWN 305-373-8303 FL 24412899080030022898271                         -40.00
             CKCD 8398 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/22/19     CHECKCARD 0320 AMERICAN AIR00123439342 FORT WORTH TX                                               -238.30
             24431069080978000889091 CKCD 3001 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/22/19     CHECKCARD 0321 LYFT *RIDE WED 8PM 855-865-9553 CA 24055239081400966181952                           -12.56
             CKCD 4121 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/22/19     CHECKCARD 0321 LYFT *RIDE WED 11PM 855-865-9553 CA 24055239081400966693683                          -12.76
             CKCD 4121 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/25/19     CHECKCARD 0322 RMG*REGUS 972-340-2021 TX 24692169081100319355034 CKCD 6513                        -2,321.34
             XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/25/19     CHECKCARD 0322 HIS*HISCOX INC 888-202-3007 NY 24692169081100723235186 RECURRING                     -70.50
             CKCD 6300 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/25/19     CHECKCARD 0322 HIS*HISCOX INC 888-202-3007 NY 24692169081100723237489 RECURRING                     -70.50
             CKCD 6300 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/25/19     CHECKCARD 0323 LYFT *RIDE FRI 9AM 855-865-9553 CA 24055239083400968192476 CKCD                      -16.02
             4121 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/25/19     CHECKCARD 0322 NYCDOT PARKING METERS LONG IS CITY NY 24755419081260818266281                        -11.00
             CKCD 7523 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/26/19     CHECKCARD 0325 AMAZON.COM*MW8QF2AY2 AM AMZN.COM/BILLWA                                              -66.19
             24431069084083320341000 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/27/19     CHECKCARD 0325 MTA*METROCARD MACHINE NEW YORK               NY 24692169085100060465038              -40.00
             CKCD 4111 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/27/19     CHECKCARD 0326 POSTAGE GOSHIPPO.COM HTTPSGOSHIPPOCA 24492159085637145149379                         -45.02
             RECURRING CKCD 7399 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/28/19     CHECKCARD 0327 AMZN MKTP US*MW21N1MO0 AMZN.COM/BILLWA                                               -45.99
             24431069086083723412133 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
03/28/19     CHECKCARD 0327 ATLASSIAN ATLASSIAN B.V 74697049087050373306647 CKCD 5734                            -41.37
             XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
Subtotal for card account # XXXX XXXX XXXX 2943                                                            -$9,412.61
Total withdrawals and other debits                                                                        -$68,704.47




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GATEGUARD, INC. ! Account # 4830 6703 8085 ! March 1, 2019 to March 31, 2019




Service fees
The Monthly Fee on your Business Fundamentals Checking account was waived for the statement period ending 02/28/19. A check mark
below indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
        $250+ in new net purchases on a linked Business debit card

        $250+ in new net purchases on a linked Business credit card

        $3,000+ minimum daily balance in primary checking account

        $5,000+ average monthly balance in primary checking account

        $15,000+ combined average monthly balance in linked business accounts

        enrolled in Business Advantage Relationship Rewards

For information on how to open a new product, link an existing service to your account, or about Business Advantage Relationship
Rewards please call 1.888.BUSINESS or visit bankofamerica.com/smallbusiness.
Date           Transaction description                                                                                                Amount

03/08/19       Wire Transfer Fee                                                                                                      -45.00

03/20/19       Wire Transfer Fee                                                                                                      -45.00

03/26/19       Wire Transfer Fee                                                                                                      -45.00

03/28/19       CHECKCARD 0327 ATLASSIAN ATLASSIAN B.V                                                                                   -1.24
               74697049087050373306647 CKCD 5734 XXXXXXXXXXXX2943
               INTERNATIONAL TRANSACTION FEE

Total service fees                                                                                                                 -$136.24
Note your Ending Balance already reflects the subtraction of Service Fees.




Daily ledger balances
Date                                 Balance ($)   Date                           Balance($)    Date                               Balance ($)

03/01                               26,923.24      03/12                         17,145.09      03/22                              10,512.67
03/04                               23,944.33      03/14                         16,715.56      03/25                               4,023.31
03/06                               23,978.34      03/18                         14,668.14      03/26                                412.12
03/07                               23,418.34      03/19                         13,398.26      03/27                                327.10
03/08                               22,373.34      03/20                         13,248.85      03/28                              38,995.96
03/11                               17,873.34      03/21                         12,616.29      03/29                               3,995.96




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P.O. Box 15284
Wilmington, DE 19850
                                                                                        Customer service information


                                                                                        1.888.BUSINESS (1.888.287.4637)

                                                                                        bankofamerica.com
  GATEGUARD, INC.
                                                                                        Bank of America, N.A.
  106 W 32ND ST
                                                                                        P.O. Box 25118
  SUITE 2D15                                                                            Tampa, FL 33622-5118
  NEW YORK, NY 10001-0074




Your Business Fundamentals Checking
for February 1, 2019 to February 28, 2019                                         Account number: 4830 6703 8085
GATEGUARD, INC.

Account summary
Beginning balance on February 1, 2019                             $9,662.35   # of deposits/credits: 6
Deposits and other credits                                        78,947.44   # of withdrawals/debits: 37
Withdrawals and other debits                                     -61,604.34   # of items-previous cycle¹: 11
Checks                                                                -0.00   # of days in cycle: 28
Service fees                                                         -46.24   Average ledger balance: $17,925.42
Ending balance on February 28, 2019                             $26,959.21    ¹Includes checks paid,deposited items&other debits




                                                                                                         SDNY_000968
PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                           Page 1 of 6
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GATEGUARD, INC. ! Account # 4830 6703 8085 ! February 1, 2019 to February 28, 2019


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address, email
and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of Online
Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
        why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.


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                                                                                       Your checking account
GATEGUARD, INC. ! Account # 4830 6703 8085 ! February 1, 2019 to February 28, 2019




Deposits and other credits
Date         Description                                                                                                Amount

02/13/19     BKOFAMERICA MOBILE 02/13 3614082541 DEPOSIT                     *MOBILE   NY                            2,600.00

02/15/19     Online Banking transfer from CHK 1046 Confirmation# 2325328995                                         15,000.00

02/15/19     Online Banking transfer from CHK 1046 Confirmation# 1525853252                                          5,000.00

02/19/19     BKOFAMERICA ATM 02/18 #000002474 DEPOSIT HERALD SQUARE CE NEW YORK             NY                      52,789.44

02/25/19     BKOFAMERICA MOBILE 02/23 3621623663 DEPOSIT                     *MOBILE   NY                            2,600.00

02/27/19     WIRE TYPE:BOOK IN DATE:190227 TIME:1245 ET TRN:2019022700354738 SNDR                                       958.00
             REF:BOA1846-27FEB19 ORIG:ZHEJIANG CHOUZHOU COMMERC ID:006550890252 PMT
             DET:256130482 20190226-00316274 26-FEB-19 1,00 0.00/USD RTND BBK STS UTA BENE'S
             NAME DOES NOT MAT

Total deposits and other credits                                                                               $78,947.44


Withdrawals and other debits
Date         Description                                                                                               Amount
02/04/19     Online Banking transfer to CHK 0351 Confirmation# 5131245804                                           -3,500.00
02/11/19     Online Banking transfer to CHK 0351 Confirmation# 3190271943                                           -2,000.00
02/13/19     Online Banking transfer to CHK 5580 Confirmation# 3306981306                                              -820.00
02/20/19     Online Banking transfer to CHK 5580 Confirmation# 7167602125                                           -6,500.00
02/20/19     Online Banking transfer to CHK 1046 Confirmation# 6367604331                                          -20,000.00
02/20/19     Online Banking transfer to CHK 5580 Confirmation# 5167611154                                           -1,250.00
02/26/19     Online Banking transfer to CHK 0351 Confirmation# 7319927418                                           -3,000.00
02/26/19     WIRE TYPE:INTL OUT DATE:190226 TIME:1147 ET TRN:2019022600316274 SERVICE                               -1,000.00
             REF:467144 BNF:XAX METAL ID:1562714211030001 BNF BK:ZHEJIANG CHOUZHOU COMME
             ID:006550890252 PMT DET:256130482 M ETAL CASE SAMPLES ONLY POP SERVICES CONT
             ARMSTRONG
02/27/19     NY TLR cash withdrawal from CHK 8085                                                                      -605.00
Card account # XXXX XXXX XXXX 2943
02/04/19     CHECKCARD 0202 WEWORK-WW 350 LINCOLN 855-593-9675 FL 24692169033100072678977                              -373.45
             CKCD 6513 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/04/19     CHECKCARD 0201 THE YARD 5 800-998-4392 NY 24801669032027013524333 CKCD 6513                                 -50.00
             XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
                                                                                                       continued on the next page




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GATEGUARD, INC. ! Account # 4830 6703 8085 ! February 1, 2019 to February 28, 2019




Withdrawals and other debits - continued
Date         Description                                                                                         Amount
02/04/19     CHECKCARD 0201 GOOGLE *GSUITE_12gurus cc@google.comCA 24692169032100696043880                        -56.53
             CKCD 7311 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/04/19     CHECKCARD 0202 SendGrid 1-877-969-8647 877-9698647 CO 24906419033067655724182                        -29.95
             RECURRING CKCD 7399 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/04/19     USPS PO 359660 02/04 #000720394 PURCHASE USPS PO 35966000 NEW YORK             NY                    -25.50
02/06/19     CHECKCARD 0205 AMZN MKTP US*MB0159SA2 AMZN.COM/BILLWA                                               -222.46
             24431069036083716685662 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/11/19     CHECKCARD 0209 GARBER HARDWARE-WEST VI NEW YORK               NY 24269799040300496428011             -31.85
             CKCD 5072 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/11/19     CHECKCARD 0210 SQ *VILLAGE COPIER INC New York NY 24692169041100001669642                            -16.98
             CKCD 5999 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/12/19     CHECKCARD 0211 METAL SUPERMARKETS (MIA 305-7280456 FL                                               -105.40
             24003419042900010504132 CKCD 5051 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/15/19     CHECKCARD 0214 MR. BROADWAY 212-921-2152 NY 24688089045017046786128 CKCD 5812                        -54.64
             XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/19/19     CHECKCARD 0215 POSTAGE GOSHIPPO.COM HTTPSGOSHIPPOCA 24492159046637380147680                          -37.76
             RECURRING CKCD 7399 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/19/19     CHECKCARD 0215 RMG*REGUS 972-340-2021 TX 24692169046100932622897 CKCD 6513                         -3,059.05
             XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/19/19     CHECKCARD 0215 KPI THEREALDEAL 212-260-1332 NY 24431069047207305500019 CKCD                      -15,000.00
             7311 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/19/19     CHECKCARD 0218 RMG*REGUS 972-340-2021 TX 24692169049100247796888 CKCD 6513                         -2,265.34
             XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/20/19     CHECKCARD 0219 FEDEX 178736882 800-4633339 TN 24164079050741208498950                               -326.22
             RECURRING CKCD 4215 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/22/19     CHECKCARD 0220 BASICSON84_6 NEW YORK CITYNY 24275399052900019277559 CKCD 5251                        -13.02
             XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/25/19     CHECKCARD 0222 HIS*HISCOX INC 888-202-3007 NY 24692169053100949241830 RECURRING                      -70.50
             CKCD 6300 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/25/19     CHECKCARD 0222 HIS*HISCOX INC 888-202-3007 NY 24692169053100949218606 RECURRING                      -70.50
             CKCD 6300 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/26/19     CHECKCARD 0225 AMZN MKTP US*MI9XQ98S1 AMZN.COM/BILLWA                                                -45.99
             24431069056083301145937 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/27/19     CHECKCARD 0225 AMERICAN AIR00123393145 FORT WORTH TX                                                -243.30
             24431069057978001060311 CKCD 3001 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/27/19     CHECKCARD 0226 OEC GROUP 718-5277171 NY 24251379057018025237056 CKCD 4214                            -97.00
             XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/27/19     CHECKCARD 0225 B&H PHOTO 800-606-6969 800-2215743 NY 24906419056068830079767                         -25.00
             CKCD 5969 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/28/19     CHECKCARD 0227 AMZN Mktp US*MI2OT1DY1 Amzn.com/billWA 24692169058100560249208                       -359.85
             CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/28/19     CHECKCARD 0227 ATLASSIAN ATLASSIAN B.V 74547069059050368263013 CKCD 5734                             -41.37
             XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/28/19     CHECKCARD 0227 AMZN MKTP US*MI01G3SB1 AMZN.COM/BILLWA                                               -127.68
             24431069059083302780648 CKCD 5942 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
02/28/19     CHECKCARD 0227 CANAL ALARM DEVICES NEW YORK             NY 24247609058300526621269                  -180.00
             CKCD 7393 XXXXXXXXXXXX2943 XXXX XXXX XXXX 2943
Subtotal for card account # XXXX XXXX XXXX 2943                                                            -$22,929.34
Total withdrawals and other debits                                                                         -$61,604.34




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                                                                                               Your checking account
GATEGUARD, INC. ! Account # 4830 6703 8085 ! February 1, 2019 to February 28, 2019




Service fees
The Monthly Fee on your Business Fundamentals Checking account was waived for the statement period ending 01/31/19. A check mark
below indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
        $250+ in new net purchases on a linked Business debit card

        $250+ in new net purchases on a linked Business credit card

        $3,000+ minimum daily balance in primary checking account

        $5,000+ average monthly balance in primary checking account

        $15,000+ combined average monthly balance in linked business accounts

        enrolled in Business Advantage Relationship Rewards

For information on how to open a new product, link an existing service to your account, or about Business Advantage Relationship
Rewards please call 1.888.BUSINESS or visit bankofamerica.com/smallbusiness.
Date           Transaction description                                                                                                Amount

02/26/19       Wire Transfer Fee                                                                                                      -45.00

02/28/19       CHECKCARD 0227 ATLASSIAN ATLASSIAN B.V                                                                                   -1.24
               74547069059050368263013 CKCD 5734 XXXXXXXXXXXX2943
               INTERNATIONAL TRANSACTION FEE

Total service fees                                                                                                                 -$46.24
Note your Ending Balance already reflects the subtraction of Service Fees.




Daily ledger balances
Date                                 Balance ($)    Date                          Balance($)    Date                               Balance ($)

02/01                                    9,662.35   02/13                         5,030.23      02/25                              31,772.64
02/04                                    5,626.92   02/15                        24,975.59      02/26                              27,681.65
02/06                                    5,404.46   02/19                        57,402.88      02/27                              27,669.35
02/11                                    3,355.63   02/20                        29,326.66      02/28                              26,959.21
02/12                                    3,250.23   02/22                        29,313.64




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